IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

 

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
V. No. 19-03134-01-CR-S-BP
LAURA A. OGLESBY,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Teresa A. Moore, Acting United States Attorney, and Shannon Kempf,
Assistant United States Attorney, and the defendant, Laura A. Oglesby (“the defendant’),
represented by Michelle Nahon Moulder.

The defendant understands and agrees that this plea agreement is only between her and the
United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to

 

Count 1 of the Indictment, charging her with a violation of 42 U.S.C. § 408(a)(6) that is,

Intentionally Furnishing False Information to the Social Security Administration. By

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entering into this plea agreement, the defendant admits that she knowingly committed this offense,

and is,

in fact, guilty of this offense.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which the defendant 1s pleading guilty are as follows:

On or about January 14, 2016, in Howell County, in the Western District
of Missouri, and elsewhere, the defendant, LAURA A. OGLESBY, knowingly,
willfully, and with the intent to deceive the Commissioner of Social Security as to
her true identity, made materially false statements and representations of fact for
use by the Social Security Administration with respect to information required to
establish and maintain records under the Social Security Act. Specifically, in
applying for a Social Security Card, with intent to deceive the Social Security
Administration and thereby fraudulently obtain a Social Security Card, the
defendant falsely represented the Social Security Account Number, date of birth,
and legal name of another person, “L.A.H.,” to have been her own Social Security
Account Number, date of birth, and legal name, in violation of Title 42, United
States Code, Section 408(a)(6).

On January 14, 2016, the defendant, by electronic application to the United
States Social Security Administration, applied for a Social Security Card with a
Social Security Account Number (SSN) ending 0422, which was L.A.H.’s SSN,
and not the defendant’s SSN. In applying for a Social Security Card, and with the
intent to deceive the United States Social Security Administration and fraudulently
obtain a Social Security Card, the defendant falsely represented the SSN, date of
birth, and legal name of L.A.H. as her own SSN, date of birth, and legal name.
Based upon the defendant’s false representations, the United States Social Security
Administration issued the defendant a Social Security Card ending 0422.

Also, on January 14, 2016, the defendant used the fraudulently obtained
Social Security Card ending 0422 to obtain a Missouri’s drivers’ license, under
L.A.H.’s identity.

In 2017, the defendant used the fraudulently obtained Social Security Card
of L.A.H. to enroll at “University A” as L.A.H. In addition, the defendant applied
for and received financial aid to attend “University A” using the SSN of L.A.H.
By such means, the defendant obtained $9,400 in federal student loans through the
federal government; $5,920 in Pell Grants from the federal government; $337.59
for books purchased at “University A’s” bookstore, and $1,863.49 in finance
charges. “University A” paid back the federal government for the loans and the
Pell Grant, on L.A.H.’s behalf. The bookstore charges and finance charges
remaining outstanding and owed to “University A.” Thus, the defendant owes
“University A” $17,521.08.

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Restitution

The defendant’s actions resulted in substantial financial harm to University
A totaling at least $17,521.08 as set forth above. Pursuant to 18 U.S.C. §
3663A(c)(2) the defendant agrees to pay restitution to University A. The charged

offense, Count 6, Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A,
gave rise to this plea agreement.

Additionally, the defendant’s actions also resulted in financial harm to

L.A.H. Pursuant to 18 U.S.C. 3663 A(c)(2) the defendant agrees to pay restitution

to L.A.H. In addition to the offense charged in Count 1 of the Indictment, the

offenses charged in Counts 2, 4, 6, and 8 of the Indictment, which charge

Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A, also gave rise to this

plea agreement. The defendant agrees to pay restitution to L.A.H. in an amount

determined by the Court at sentencing or agreed to by the parties prior to

sentencing.

4, Use _of Factual Admissions and Relevant Conduct. The defendant
acknowledges, understands and agrees that the admissions contained in paragraph 3 and other
portions of this plea agreement will be used for the purpose of determining her guilt and advisory
sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the
calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The
defendant acknowledges, understands and agrees that the conduct charged in any dismissed counts
of the Indictment, as well as all other uncharged, related criminal activity, may be considered as
“relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the
charge to which she is pleading guilty.

5. Statutory Penalties. The defendant understands that, upon her plea of guilty to
Count 1 of the Indictment, charging her with intentionally furnishing false information to the

Social Security Administration, the maximum penalty the Court may impose is not more than 5

years’ imprisonment, not more than 3 years’ supervised release, a $250,000 fine, an order of

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restitution, and a $100 mandatory special assessment per felony count of conviction, which must
be paid in full at the time of sentencing. The defendant further understands that this offense is a

Class D felony.
6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

a, in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

@. in addition to a sentence of imprisonment, the Court may impose a
term of supervised release of up to 3 years;

d. if the defendant violates a condition of her supervised release, the
Court may revoke her supervised release and impose an additional period of
imprisonment of up to 2 years without credit for time previously spent on
supervised release. In addition to a new term of imprisonment, the Court also may
impose a new period of supervised release, the length of which cannot exceed 3
years, less the term of imprisonment imposed upon revocation of the defendant’s
first supervised release;

ei the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

f, any sentence of imprisonment imposed by the Court will not allow
for parole;

g. the Court is not bound by any recommendation regarding the

sentence to be imposed or by any calculation or estimation of the Sentencing
Guidelines range offered by the parties or the United States Probation Office; and

h. the defendant may not withdraw her guilty plea solely because of
the nature or length of the sentence imposed by the Court.

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% Government’s Agreements. Based upon evidence in its possession at this time,
the United States Attorney’s Office for the Western District of Missouri, as part of this plea
agreement, agrees not to bring any additional charges against the defendant for any federal criminal
offenses related to the offenses charged in the Indictment for which it has venue and which arose
out of the defendant’s conduct described above. Additionally, the United States Attorney for the
Western District of Missouri agrees to dismiss Counts 2 through 8 at sentencing. —

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. Ifthe defendant breaches this plea agreement, the United
States retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives her right to challenge the initiation
of the dismissed or additional charges against her if she breaches this agreement. The defendant
expressly waives her right to assert a statute of limitations defense if the dismissed or additional
charges are initiated against her following a breach of this agreement. The defendant further
understands and agrees that, if the Government elects to file additional charges against her
following her breach of this plea agreement, she will not be allowed to withdraw her guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct. This may include information concerning the background, character and conduct

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of the defendant, including the entirety of her criminal activities. The defendant understands these
disclosures are not limited to the count to which she has pleaded guilty. The United States may
respond to comments made or positions taken by the defendant or the defendant’s counsel, and to
correct any misstatements or inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal
Rules of Criminal Procedure.

9. Withdrawal of Plea. Either party reserves the sain to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw her plea of guilty only if the Court
rejects the plea agreement, or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that, if the Court accepts her plea of guilty and this plea
agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, she will not be permitted to withdraw her pleas of guilty.

10. Agreed Guidelines Applications. With respect to the application of the
Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory
in nature. The Court may impose a sentence that is either above or below the

defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”;

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b. The applicable Guidelines section for the offense of conviction is
U.S.S.G. § 2B1.1(a), which provides for a base offense level of 6;

c. Pursuant to U.S.S.G. § 2B1.1(b)(11)(c)(1), two (2) levels are added
because the offense involved the unauthorized use of any means of identification
unlawfully to obtain another means of identification. Because the resulting offense
level is less than level 12, the offense level is increased to 12;

d. The defendant has admitted her guilt and clearly accepted
responsibility for her actions. Consequently, she is entitled to a 2-level reduction
pursuant to § 3E1.1(a) of the Sentencing Guidelines;

e The parties agree that the Court will determine her applicable
criminal history category after receipt of the presentence investigation report
prepared by the United States Probation Office;

i. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw her plea of guilty;

g. The defendant understands that the Court may impose any sentence
authorized by law, including any sentence outside the applicable Guidelines range
that is not “unreasonable.” However, while the United States does not agree that a
sentence outside the Guidelines range is appropriate, the defendant may argue for
a sentence outside the Guidelines range. The agreement by the Government not to
seek a departure from the Guidelines is not binding upon the Court or the United
States Probation Office, and the Court may impose any sentence authorized by law,
including any sentence outside the applicable Guidelines range that is not
“unreasonable”;

h. The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination beyond
a reasonable doubt of all facts used to determine and enhance the sentence imposed,
and waives any right to have those facts alleged in the Indictment. The defendant
also agrees that the Court, in finding the facts relevant to the imposition of sentence,
may consider any reliable information, including hearsay; and

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i. The defendant understands and agrees that the factual admissions
contained in paragraph 3 of this plea agreement, and any admissions that she will

make during her plea colloquy, support the imposition of the agreed upon

Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in paragraph 10 and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12, Change in Guidelines Prior to Sentencing. The defendant agrees that, if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any |
request by the defendant to be sentenced pursuant to the new Guidelines will make this plea
agreement voidable by the United States at its option. If the Government exercises its option to
void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all
criminal charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by the defendant at
the sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charges in the Indictment;

ce. oppose any arguments and requests for relief the defendant might

advance on an appeal from the sentence imposed, and that the United States remains
free on appeal or collateral proceedings to defend the legality and propriety of the
sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or
other relief.

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14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that she has been advised of, understands, and knowingly and voluntarily waives

the following rights:
a. the right to plead not guilty and to persist in a plea of not guilty;
b. the right to be presumed innocent until her guilt has been established

beyond a reasonable doubt at trial;

Cs the right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify
against her;

a the right to compel or subpoena witnesses to appear on her behalf;
and

f. the right to remain silent at trial, in which case her silence may not
be used against her.

The defendant understands that, by pleading guilty, she waives or gives up those rights and
that there will be no trial. The defendant further understands that, if she pleads guilty, the Court
may ask her questions about the offense to which she pleaded guilty, and if the defendant answers
those questions under oath and in the presence of counsel, her answers may later be used against
her in a prosecution for perjury or making a false statement. The defendant also understands that
she has pleaded guilty to a felony offense and, as a result, will lose her right to possess a firearm
or ammunition and might be deprived of other rights, such as the right to vote or register to vote,
hold public office, or serve on a jury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that, by
pleading guilty pursuant to this plea agreement, she waives her right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement, | —_

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except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct; and

b. The defendant expressly waives her right to appeal her sentence,
directly or collaterally, on any ground except claims of: (1) ineffective assistance
of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal her sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant
represents that she understands and agrees to the following financial obligations:

a. The Court must order restitution to the victims of the offense to
which the defendant is pleading guilty. The defendant agrees that the Court may
order restitution in connection with the conduct charged in any counts of the
Indictment which are to be dismissed and all other uncharged, related criminal
activity;

b. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine;

Ds The defendant will fully and truthfully disclose all assets and
property in which she has any interest, or over which the defendant exercises
control, directly or indirectly, including assets and property held by a spouse,
nominee or other third party. The defendant’s disclosure obligations are ongoing,
and are in force from the execution of this agreement until the defendant has
satisfied the restitution order in full;

d. Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit: (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the United
States makes a recommendation to the Court regarding the defendant's acceptance
of responsibility;

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&. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution;

f The defendant hereby authorizes the USAO to obtain a credit report
pertaining to her to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence;

g. The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $100 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of her fulfillment
of this obligation at the time of sentencing;

h. The defendant certifies that she has made no transfer of assets or
property for the purpose of: (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; or (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that she will make no such transfers in the future; and

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the United
States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered plea of guilty shall remain in effect and cannot be
withdrawn.

17. Waiver of FOIA Request. The defendant waives all of her rights, whether asserted
directly or by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,

or the Privacy Act of 1974, 5 U.S.C. § 552a.

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18. Waiver of Claim for Attorney’s Fees. The defendant waives all of her claims
under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw her plea of guilty.

The defendant also understands and agrees that, in the event she violates this plea
agreement, all statements made by her to law enforcement agents subsequent to the execution of
this plea agreement, any testimony given by her before a grand jury or any tribunal, or any leads
from such statements or testimony, shall be admissible against her in any and all criminal
proceedings. The defendant waives any rights that she might assert under the United States
Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the
Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any
statements made by her subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that she has entered

 

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that she is satisfied with the assistance of
counsel, and that counsel has fully advised her of her rights and obligations in connection with this
plea agreement. The defendant further acknowledges that no threats or promises, other than the

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promises contained in this plea agreement, have been made by the United States, the Court, her

attorneys, or any other party to induce her to enter her plea of guilty.

21. No Undisclosed Terms. The United States and the defendant acknowledge and
agree that the above stated terms and conditions, together with any written supplemental agreement
that might be presented to the Court in camera, constitute the entire plea agreement between the
parties, and that any other terms and conditions not expressly set forth in this agreement or any

written supplemental agreement do not constitute any part of the parties’ agreement and will not

be enforceable against either party.

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22. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether
or not that party was involved in drafting or modifying this agreement.

Teresa A. Moore
Acting United States Attorney

Dated: [ ¢ 6 [ 202/ By Pat > ae

* Shannon T. Kempf
Assistant United States Attorney
Missouri Bar No. 61060

Ihave consulted with my attorney and fully understand all of my rights with respect to the offenses
charged in the Indictment. Further, I have consulted with my attorney and fully understand my
rights with respect to the provisions of the Sentencing Guidelines. I have read this plea agreement
and carefully reviewed every part of it with my attorney. I understand this plea agreement and I
voluntarily agree to it.

Dated:_/2 /& /Zo02]
aura A. Oglesby

Defendant

I am defendant Laura A. Oglesby attorney. I have fully explained to her rights with respect
to the offenses charged in the Indictment. Further, I have reviewed with her the provisions of the
Sentencing Guidelines which might apply in this case. I have carefully reviewed every part of this
plea agreement with her. To my knowledge, Laura A. Oglesby’s decision to enter into this plea
agreement is an informed and voluntary one.

Dated: /2. /&@ /202/ WW rr art ahr.
Michelle Nahon Moulder

Attorney for Defendant

 

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